1 Case: 22-10168 Document: 113 Date Filed: 12/08/2023 Page: 1 of 3
Supreme Court of the United States

Office of the Clerk
Washington, DC 20543-0001

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CLERK

DEC 08 2023

Scott S. Harris
Clerk of the Court

ATLANTA, GD
December 4, 2023 (202) 479-3011

Clerk

United States Court of Appeals for the Eleventh
Circuit

56 Forsyth Street, N.W.

Atlanta, GA 30303

Re: Department of Treasury, et al.
v. West Virginia, By and Through Patrick Morrisey, Attorney
General of the State of West Virginia, et al.
Application No. 23A502
(Your No. 22-10168)-C&@

Dear Clerk:

The application for an extension of time within which to file a petition
for a writ of certiorari in the above-entitled case has been presented to
Justice Thomas, who on December 4, 2023, extended the time to and
including January 12, 2024.

This letter has been sent to those designated on the attached
notification list.

Sincerely,

Scott S. arris, Clerk

Rashonda Garner
Case Analyst

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Supreme Court of the United States
Office of the Clerk
Washington, DC 20543-0001

Scott 8. Harris
Clerk of the Court

NOTIFICATION LIST (202) 479-3011

Mrs. Elizabeth B. Prelogar
Solicitor General
United States Department of Justice

950 Pennsylvania Avenue, NW
Washington, DC 20530-0001

Clerk

United States Court of Appeals for the Eleventh Circuit
56 Forsyth Street, N.W.

Atlanta, GA 30303

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